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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                     4:12CR3099-2

       vs.
                                                                 DETENTION ORDER
AARON RAUL NUNEZ,

                      Defendants.


                            DETENTION ORDER PENDING TRIAL

       After affording the defendant an opportunity for a detention hearing under the Bail
Reform Act, 18 U.S.C. § 3142(f), the court concludes the defendant must be detained pending
trial.

        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because there is probable cause to believe the defendant committed a drug crime
under the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. The defendant has not rebutted this presumption.

       Specifically, the court finds:

       The defendant's criminal record indicates a propensity to violate the law and
       orders of the court. The defendant has a substance abuse addiction or abuses
       mood-altering chemicals and is likely to continue such conduct and violate the
       law if released. The defendant has failed to appear for court proceedings in the
       past. The defendant waived the right to a detention hearing.

                                   Directions Regarding Detention

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of United
States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.

       September 25, 2012.                           BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
